 

 

AO 93 (rev. ll/l3) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin
In the Matter of the Search of:

The person of DEMARCO CORTEZ GRAVES, male, Date
of Birth: XX/XX/1990, FBI Number 170633CB2, Social
Security Number: XXX-XX-9 l 00

Case No. 19"|\/|\.|*1200

 

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search of the following person
or property located in the Eastern District of Wisconsin:

the person of DEMARCO CORTEZ GRAVES, male, Date of Birth: XX/X)Q 1990, FBI Number 170633CB2, Social
Security Number: XXX-XX-9 l 00

l find that the affidavit(s) or any recorded testimony, establish probable cause to search and seize the person or property described
above and that such search Will reveal:

Saliva and epithelial cells to be taken via buccal sWab

YOU ARE COMMANDED tO €X€Cut€ thiS Wa!`l”al'lt ON OR BEFORE 2 /§//H (noz‘ to exceed 14 days)
g in the daytime between 6:00 a.m. and 10:00 p.m. l:l at any time in the djy of night because good cause has been established

 

Unless delayed notice is authorized below, you must give a copy of the Warrant and a receipt for the property taken to the
person from Whom, or from Whose premises, the property Was taken, or leave the copy and receipt at the place Where the
property Was tal<en.

The officer executing this Warrant, or an officer present during the execution of the Warrant, must prepare an inventory as required

by law and promptly return this Warrant and inventory to Honorable Williarn E. Duffin
(United Smtes Magl`strate Judge)

l:l Pursuant to 18 U.S.C. § 3l03a(b), l find that immediate notification may have an adverse result listed in lS U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this Warrant to delay notice to the person Who, or Whose
property, Will be searched or seized (check the appropriate box)

|jfor days (not to exceed 30) l:| until, the facts justifying, the later specific date of

 

 

Date and time issued: //N/{§(@ di ‘,‘:?§;21? ' M‘ !r'i!

City and State: l\/lilwaukee, Wisconsin Honorable William E. Duffin , U.S. Magistrate Judge
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AO 93 (mod. 5/l4) Search and Seizure Warrant

 

Return

 

Case No: Date and time warrant executed: Copy of Warrant and inventory left with:

 

 

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Inventory made in the presence of:

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lnventory of the property taken and/or name of any person(s) seized:

nwa/9 m mac DWM /§?ODSJYF“

 

Certif“lcation

 

 

l declare under penalty of perjury that this inventory is correct and was returned a ong with the original warrant to the
undersigned judge.

/ v
Date: @§/ /‘z f ii :,/C‘W g

E;;a€ud/n/g)%c`é'?"s signature

C/
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Prz‘nted name and title

Subscribed, sworn to, and returned before me this date:

United Sz‘ates Magz`stmteY¢

     

 

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